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         PAVEMETRICS SYSTEMS, INC.
    10
    11                 IN THE UNITED STATES DISTRICT COURT
    12              FOR THE CENTRAL DISTRICT OF CALIFORNIA
    13                              WESTERN DIVISION
    14
                                                  ) Case No. 2:21-cv-1289-MCS-MMA
    15   PAVEMETRICS SYSTEMS, INC.,               )
                                                  )
    16               Plaintiff,                   ) PAVEMETRICS’ NOTICE OF
                                                  ) LODGING ITS DEMONSTRATIVE
    17         v.                                 ) SLIDES FROM MOTION FOR
                                                  )
    18   TETRA TECH, INC.,                        ) SUMMARY JUDGMENT
                                                  ) HEARING
    19               Defendant.                   )
                                                  )
    20                                            ) Honorable Mark C. Scarsi
         AND RELATED COUNTERCLAIMS                ) Honorable Maria A. Audero
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     1         Plaintiff Pavemetrics Systems, Inc. hereby lodges its demonstrative slides
     2   from the motion for summary judgment hearing on February 28, 2022 attached
     3   hereto as Exhibit A.
     4
     5                                 Respectfully Submitted,
     6
                                       KNOBBE, MARTENS, OLSON & BEAR, LLP
     7
     8
     9   Dated: March 1, 2022            By: /s/ Christy G. Lea
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    13                                   Defendant, PAVEMETRICS SYSTEMS, INC.
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